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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ☐ Original     ☐ Duplicate Original


                                UNITED STATES DISTRICT COURT
                                                        for the
                                                                                                            FILED
                                                                                                  CLERK, U.S. DISTRICT COURT
                                            Central District of California
                                                                                                       04/17/2020
 United States of America                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                                                         DM/BM
                                                                                                  BY: ___________________ DEPUTY

                 v.
                                                                  Case No.      2:20-mj-01724
 MEI XING,

                 Defendant


                             CRIMINAL COMPLAINT BY TELEPHONE
                            OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the dates of January 2017 to October 2018 in the county of Los Angeles in the Central District of

California, the defendant violated:

           Code Section                                           Offense Description

           18 U.S.C. § 1591(a)                                    Sex Trafficking by Force, Fraud, or
                                                                  Coercion

         This criminal complaint is based on these facts:

         Please see attached affidavit.

          Continued on the attached sheet.

                                                                                     /s/ Alton Richards
                                                                                Complainant’s signature

                                                                    ALTON RICHARDS, Special Agent Federal
                                                                           Bureau of Investigations
                                                                                 Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                April 17, 2020
                                                                                     Judge’s signature

 City and state: Los Angeles, California                           HON. JEAN ROSENBLUTH, U.S. Magistrate
                                                                                 Judge
                                                                                 Printed name and title
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                                AFFIDAVIT
     I, Alton L. Richards, being duly sworn, declare and as

follows:

                    I.   PURPOSE OF AFFIDAVIT
     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against MEI XING (“XING”) for a

violation of Title 18, United States Code, Section 1591(a) (Sex

Trafficking by Force, Fraud, or Coercion).

     2.      The facts set forth in this affidavit are based upon

my personal observations, the evidence in this case, law

enforcement reports, my training and experience, and information

obtained from various law enforcement personnel and witnesses.

This affidavit is intended to show merely that there is

sufficient probable cause for the requested complaint and arrest

warrant, and does not purport to set forth all of my knowledge

of or investigation into this matter, nor set forth all of our

knowledge or investigation into all of the targets of this

investigation.     Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

        II. BACKGROUND FOR FBI SPECIAL AGENT ALTON L. RICHARDS
     3.      I am a Special Agent with the Federal Bureau of

Investigation (“FBI”), and have been so employed since July

2014.     I am currently assigned to the Los Angeles Field Office

where I have been working on the Violent Crimes Against Children

Squad since January 2019.      I am assigned to the multi-agency

child exploitation task force known as the Southern California


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Regional Sexual Assault Felony Enforcement Team, as well as the

Los Angeles Regional Human Trafficking Task Force.          I currently

investigate criminal violations relating to child exploitation

and sex trafficking involving minors and adults.

     4.    During my career as an FBI Special Agent, I have

participated in numerous child exploitation and human

trafficking investigations.      In addition, I have received both

formal and informal training from the FBI and other institutions

regarding human trafficking and other sex related crimes, and

the methods in which human traffickers coerce, fraudulently

induce, and force their victims to engage in commercial sex on

behalf of the human trafficker.

                    III. SUMMARY OF PROBABLE CAUSE
     5.    From July 2016 to October 23, 2018, XING engaged in

sex trafficking by force, fraud, and coercion involving at least

six victims, including victim Q.D.       In many respects, XING’s

pattern method of trafficking is similar for each of her

victims.

     6.    On or about January 2017, XING recruited Q.D. to be a

massage therapist at XING’s massage parlor located at 9622

Garvey Avenue, South El Monte (“Sunshine Massage”).          Shortly

after Q.D. was hired, XING fraudulently induced and coerced Q.D.

to engage in commercial sex against her will.         On or about May

30, 2017, Sunshine Massage closed.       From on or about June 1,

2017 to October 2018, pursuant to a written partnership

agreement, XING co-owned and managed two different massage

parlor locations: 2821 Peck Road, Unit E, El Monte (“the Peck


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Road Massage Parlor”), and 9611 Garvey Avenue Unit 201A, South

El Monte (the “Garvey Avenue Massage Parlor,” and together with

the Peck Road Massage Parlor, “the Co-Owned Massage Parlors”).

XING brought some of her prior victims, including Q.D., to the

Co-Owned Massage Parlors to continue providing massages and

commercial sex.

     7.    When Q.D. told XING that she wanted to stop engaging

in commercial sex, XING responded by telling Q.D. (and other sex

trafficking victims who wanted to leave XING’s employment) that

XING would turn them into the police.

     8.    XING coerced other victims into performing commercial

sex by all manner of threats, including threats to report their

prostitution to police, expose their immigration status, and

implicitly threats to have them murdered.

     9.    XING’s threats to Q.D. and other victims induced them

to continue engaging in commercial sex acts for the benefit of

XING against their will.

     10.   XING benefited financially from the victims, including

Q.D., when they engaged in coerced commercial sex at the Co-

Owned Massage Parlors.

     11.   XING’s sex trafficking conduct affected interstate and

foreign commerce because commercial sex inherently affects

interstate commerce, the commercial sex was offered in part at

businesses open to interstate commerce, items that moved in

interstate commerce were used to facilitate the commercial sex,

and instrumentalities of interstate commerce were used to




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recruit, maintain, and obtain the victims, including Q.D., for

commercial sex with patrons.

                     IV. STATEMENT OF PROBABLE CAUSE
     12.      Based on my own investigation in this case, my review

of law enforcement reports, my review of the evidence,

conversations with other law enforcement officers, interviews

with witnesses, interviews with XING, 1 and based on my training

and experience, I am aware of the following:

     13.      From July 2016 to October 23, 2018, XING engaged in

sex trafficking by force, fraud, and coercion involving at least

six victims, including victim Q.D.        The below statements do not

include statements from all of XING’s known victims, nor does it

include all of the information in the government’s possession.

     14.      XING engaged in sex trafficking victim Q.D. by force,

fraud and coercion from January 2017 to October 2018.

         A.    Xing Trafficked Q.D.
              1.   XING Hired Q.D. to be a Massage Therapist

     15.      On or about January 2017, XING recruited Q.D. to be a

massage therapist at Sunshine Massage.        A friend introduced Q.D.

to XING via WeChat. 2


     1 Many of the witnesses and XING speak predominately
Chinese. As a result, law enforcement interviews with the
victims were translated into English by a Chinese speaking law
enforcement officer. Quotations and statements by the victims
and witnesses are predominately, if not entirely, quotations and
statements that were translated from Chinese to English.
     2 I know from further investigation using public online
resources that WeChat is a Chinese mobile communications
application which can be accessed on a digital device. This
application can be used to message other users of WeChat,
similar to WhatsApp, Facebook Messenger, and other online


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     16.    Q.D. believed she was applying for a position as a

massage therapist with XING, and was told to go to Sunshine

Massage.    A short while later, Q.D. arrived at Sunshine Massage

and met XING. 3

     17.    XING did not ask Q.D. whether she was licensed to

perform massages, and did not ask Q.D. to fill out any

employment forms.    XING told Q.D. that she would be paid $10 per

hour-long massage performed, and nothing for half-hour long

massages.    XING told Q.D. that she would get to keep her tips,

but had to pay XING $15 per week.       Q.D. did not receive an

hourly wage.

     18.    Q.D. knew she was working illegally because she did

not have a massage license, but accepted the position anyway.

     19.    For the first day or two, Q.D. performed massages as

expected, similar to the majority of XING’s victims.

            2.    XING Fraudulently Induces Q.D. to Engage in
                  Unwanted Commercial Sex Acts

     20.    After hiring Q.D. to perform massages, XING

fraudulently induced and coerced Q.D. into engaging in

commercial sex acts against her will.        Before this, Q.D. still

believed that her job was to perform non-sexual massages.

     21.    On the second or third day after hiring Q.D., XING

told Q.D. that her next customer would be a “cop” and “whatever



applications. WeChat requires internet service to message
others, and was developed by a Chinese company, Tencent. WeChat
is a popular application in China.
     3 Q.D. and all of the victims referenced in this complaint
positively identified XING by her photo.


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the customer tells you to do, do it.”        After Q.D. entered the

massage room, the “cop” 4 directed Q.D. to give him manual and

oral stimulation to his genitals.       Q.D. felt as though she had

no choice but to comply because she was illegally working at the

massage parlor without a license and did not want to get

arrested.    Q.D. said the “cop” did not physically harm her, but

he did forcibly hold her down, and she felt like she could not

refuse or leave.

     22.    Q.D. later discovered that the sex acts were

commercial sex acts pre-arranged by XING and the “cop” without

Q.D.’s knowledge or consent.

     23.    Q.D. also heard from other victims that nobody was

allowed to take money or tips from the “cop” and that the “cop”

tells XING about upcoming law enforcement raids of her massage

parlor.

     24.    Q.D.’s experience was similar to multiple other

victims, who stated that their first commercial sex acts were

sexual assaults by customers expecting commercial sex acts that

XING had pre-arranged without the victims’ knowledge or consent.

            3.   XING Coerced Q.D. into Remaining a Commercial Sex
                 Worker

     25.    After Q.D.’s first commercial sex act, XING arranged

for Q.D. to perform commercial sex acts with two to three

customers per day.    Q.D. also engaged in commercial sex at

XING’s Townhouse located at 305 West Newby Avenue, Apartment J,

     4 I refer to this person as a “cop,” because that is how the
victim and XING referred to this person. Thus far this
investigation has not verified that this person is a member of
any law enforcement agency.

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San Gabriel, California 91776 (“XING’s Townhouse”).          XING would

typically arrange the commercial sex acts at XING’s Townhouse

directly with the customers via telephone and coordinate with

Q.D. via telephone or in person.

     26.    Q.D. felt pressured into performing these commercial

sex acts because XING told her XING had relationships with the

government, the police, and the criminal underworld.          Q.D. was

afraid to leave, and felt safer working for XING than elsewhere

because of XING’s aforementioned “relationships.”

     27.    Q.D. had heard stories from other victims that gangs

may rob or hurt other massage workers, or the police may arrest

people who illegally worked without massage licenses.          However,

because XING did not seem to have gang issues, and appeared to

elude police inspections, Q.D. believed XING had the

“relationships” she claimed.

     28.    Furthermore, Q.D. felt she could not make a living if

she did not perform commercial sex acts because XING did not pay

Q.D. a wage for non-sex work.

     29.    At one point, XING threatened Q.D. and other women

working at the massage parlor and told them that if they left,

XING would call the police because they do not have massage

licenses.    As a result of this threat, Q.D. was scared to leave.

Q.D. believed that she would be deported if XING called the

police and was discovered working without a massage license.

     30.    Q.D.’s experience with XING was not unique.        At least

six other witnesses have come forward and have reported that

XING engaged in similar conduct to coerce victims into


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commercial sex.     Some victims reported that XING threatened to

turn them into the police or immigration authorities if they

stopped performing commercial sex act.        One victim even stated

that XING kept pictures of her changing clothes and handling

condoms as “proof of prostitution.”

           4.     XING Threatened to Kill Q.D.

     31.   In October 2018, during an argument, Q.D. told XING

that she was going to call the police and report XING.          Q.D.

subsequently learned that XING said she would spend $2,000 to

“buy” Q.D.’s life or “have her head.”

     32.   Q.D. believed XING was stating her intention to have

Q.D. killed.     Q.D. believed XING could carry this threat out

because of XING’s stated connections to the police and criminal

underworld.     As a result, Q.D. fled the state.

     33.   Another victim reported that XING explicitly

threatened to pay $2,000 to have that victim killed.          XING’s

threat came after the victim had been sexually assaulted by

customers on several occasions and told XING she no longer

wanted to engage in commercial sex.

     34.   A third victim reported that XING told the victim that

XING could have her killed for a couple thousand dollars.

     35.   At least five of the seven women to have come forward

reported that XING told victims something akin to: you can “buy

a life” or “kill someone” for $2,000 dollars.

      B.      XING’s State Arrest
     36.   On October 23, 2018, law enforcement executed a search

warrant for XING’s Townhouse, the Co-Owned Massage Parlors, and


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XING’s Mercedes Sedan.     Law enforcement also executed a state

arrest warrant for XING.

             1.   Xing’s Townhouse

     37.     A witness who lived at XING’s Townhouse told law

enforcement that XING’s employees would come to XING’s Townhouse

to conduct what the witness believed to be massage business in

the third story bedroom.     This witness suspected that the

employees were also engaging in commercial sex acts, but that

was just the witness’s speculation.         The witness described the

women as dressed “scantily.”

     38.     In XING’s Townhouse, in the third floor bedroom, law

enforcement saw two night stands next to a bed.         In one night

stand, law enforcement found SICO condoms 5 and a bottle of

lotion.    In the other night stand, law enforcement found a pair

of high heeled shoes.     In the bathroom connected to this

bedroom, law enforcement found Trojan condoms and condoms

wrapped in cellophane, cleaning supplies, oils, and toilet

paper.     The bedroom and adjoining bathroom were generally devoid

of personal items.

     39.     Law enforcement also found over $5,000 dollars cash in

what appeared to be XING’s bedroom, along with what appeared to

be expensive watches, designer bags, and other items.

     40.     In her post-arrest interview, XING stated that she

only made approximately $3,000 to $4,000 per year, and received

$800 per month in child support.         When confronted with the large


     5 Based on a search of public online resources, I discovered
that SICO condoms are sold by a German company.

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amount of cash found in her home compared to her income, XING

stated that she did odd jobs, like driving or babysitting.           She

also stated that people rent a room in her house, but did not

provide the name of any tenants and admitted that she did not

currently have a tenant.

     41.    XING did not explain how she paid for her Mercedes.

     42.    XING claimed that the expensive purses, watches, and

other items in her house came from her uncle and brother when

they came to America.      She claims she paid off her townhouse

with the sale of her house in China.

            2.     The Co-Owned Massage Parlors

     43.    In both of the Co-Owned Massage Parlors, law

enforcement found lotion and condoms.

     44.    At the Peck Road Massage Parlor, law enforcement

entered and saw a woman open a door and throw a purple lotion

bottle which contained several unused and unwrapped condoms

inside.    Law enforcement also discovered another lotion bottle

with a false bottom.

     45.    At the Garvey Avenue Massage Parlor, law enforcement

found several unopened packages of condoms hidden on top of a

piece of wall art.      In the main part of the business, law

enforcement found several small bottles of toiletries with

removable bottoms and unpackaged condoms concealed inside.

            3.     XING’s Mercedes

     46.    In XING’s Mercedes, law enforcement found four

cellphones.      Three of these phones were iPhones, and one phone

was a T-Mobile Alcatel 786T.      According to public online


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resources, it appears that both Alcatel 786T and the iPhones are

all manufactured internationally.

     47.      In her interview, XING admitted that she had three

phones.       XING stated that the reason she has so many phones is

related to the massage business.

         C.     XING’s Post-Arrest Attempts to Tamper with Witness
                Testimony
     48.      After XING was arrested by local law enforcement on

October 23, 2018, she contacted many of her former victims

either directly or through a third party and asked them to

provide false testimony to law enforcement.         Thus far, at least

four of the seven women to have come forward have reported

XING’s attempts to tamper with their testimony.

     49.      A victim (“Victim 2”) 6 told law enforcement that XING

contacted her twice to try to figure out who told law

enforcement about XING’s illegal activity.

     50.      Multiple victims reported that XING also asked the

victims to pass along XING’s threats to another victim (“Victim

1”) to dissuade Victim 1 from testifying against XING.

              1.    XING’s Attempt to Discover and Intimidate a
                    Potential Law Enforcement Witness

     51.      On November 28, 2018, Victim 2 told law enforcement

that XING had contacted her twice trying to discover who had

informed law enforcement about XING’s criminal conduct.




     6 The Victims are numbered based on the how they are
identified in law enforcement reports, not in the order in which
they appear in this complaint.


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     52.   Victim 2 received the first call shortly after XING

was bailed out of jail.     In the first call, XING questioned

Victim 2 to see if Victim 2 knew who the “snitch” was. 7         XING

also discussed the possible people who could have “snitched.”

Victim 2 estimates the conversation lasted approximately five or

six minutes.

     53.   In November 2018, Victim 2 received a second phone

call from XING in which XING questioned Victim 2 to see if

Victim 2 was the “snitch.”      Victim 2 reported that she was

panicked and felt threatened.

           2.    XING Coerced Victim 7 into Providing False
                 Information for XING’s Attorney to Record

     54.   Another witness (“Victim 7”) 8 told law enforcement that

defendant coerced her into making a false statements on a

recording with XING’s defense attorney, and tried to get Victim

7 to have other victims make false statements on XING’s behalf.

     55.   Victim 7 said that around December 26 or 27 in 2018,

XING called Victim 7 and wanted her to tell XING’s lawyer that

XING did “did not force [Victim 7] to prostitute” and “did not

traffic [Victim 7] as a human being” and that Victim 7 had her

freedom.


     7 Based on my training and experience, the word “snitch” is
a derisive term for somebody who provides information to law
enforcement.
     8 Victim 7 also told law enforcement that XING got her to
smoke methamphetamine at a party in 2017, and Victim 7 has been
addicted ever since. Nonetheless, I believe Victim 7 is a
reliable witness. Victim 7 has provided numerous pieces of
information that law enforcement was able to corroborate through
other sources or by the physical evidence discovered as part of
this investigation.


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     56.   Victim 7 said she felt uncomfortable making those

statements because XING was threatening Victim 1 and was going

to hurt Victim 1 for speaking to the police about XING.          Victim

7 was also afraid XING would harm Victim 1’s family in China.

Victim 7 also said she felt obligated to accede to XING’s

request because XING is her “godmother,” 9 because XING would

threaten her, and Victim 7 was concerned for XING’s son, who

Victim 7 cared about.

     57.   Out of fear and obligation, Victim 7 agreed to XING’s

request and made the requested recording containing her false

testimony with XING’s attorney.

     58.   For the same reasons, Victim 7 also agreed to solicit

recordings of false testimony from other victims on XING’s

behalf.

     59.   Victim 7 later added that she was “very afraid” when

XING asked her to provide false testimony because she has known

XING for two and a half years and is aware of what XING “is

capable of.”   At another point in the interview Victim 7 stated

that XING had told her in the past, “in America you can buy a

life for $2,000 dollars, you can kill someone for $2,000.”

     60.   According to the Deputy District Attorney L. Christmas

Brookens (“DDA Brookens”), XING’s defense attorney for her state

case told DDA Brookens that he had a video he wished to play at

XING’s preliminary hearing.      I believe the video XING’s attorney

referenced is the video of Victim 7’s false statements described


     9 I do not know if this was intended as a literal statement
or a Chinese euphemism.

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above.     As of today, law enforcement does not have a copy of

this video.

     61.     Victim 7 also told law enforcement that XING’s friend

asked Victim 7 to provide false testimony.        Victim 7 refused to

identify the person who made this request.

     62.     Victim 7 said that XING’s friend contacted Victim 7

shortly after XING was arrested.         The friend asked Victim 7 if

she had any data on her phone from the suspect, and directed her

to erase it.

            3.    XING Attempts to Tamper with Q.D.’s Testimony

     63.    Q.D. told law enforcement that, after XING was

arrested, XING contacted Q.D. and asked Q.D. to provide false

testimony on XING’s behalf.      XING wanted Q.D. to say that XING

never forced Q.D. to have sex or be a commercial sex worker.

XING also wanted Q.D. to convince another victim known as “Niko”

to make the same false statement.        Q.D. told law enforcement

that XING spoke to Q.D. shortly after XING was arrested, either

in November 2018, December 2018, or January 2019.

     64.    Q.D. did not provide false testimony nor did she try

to convince “Niko” to provide false testimony.

            4.    XING’s Attempts to Tamper with Other Victims’
                  Testimony and Threaten Victim 1

     65.    Another victim (“Victim 3”) told law enforcement that,

after XING was arrested, XING told Victim 3 that if she did not

provide false testimony to law enforcement, XING would tell the

authorities about Victim 3’s immigration status.




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     66.   XING also instructed Victim 3 to find Victim 1 and

persuade Victim 1 “not to step forward for the good of

everyone,” and if Victim 1 did step forward, to tell her to

“remember her family members in China.”

     67.   Another victim (“Victim 5”) told law enforcement that

a third party relayed a message that was purportedly from XING.

According to the third party, XING did not want Victim 5 to

testify, and asked her to go to court and provide false

testimony that Victim 5 was not trafficked.         Victim 5 refused.

The third party then asked Victim 5 to tell Victim 1 not to

testify, saying “think about the safety of your family in in

China.”

      D.    XING’s Stated Plan to Flee
     68.   XING told Victim 7 that if XING cannot win her court

trial, she would escape and go back to China.         Victim 7 then

expressed concern about Victim 7’s own eight-year-old son in

China if XING was able to flee back to China.

     69.   In her post-arrest interview in October 2018, XING

told law enforcement that she intends to go back to China once

her son graduates from his current school.

     70.   On or about March 27, 2020, defendant sold her

townhouse, which she owned in her name.        As of today, I am

unaware if XING has purchased a corresponding residence.

      E.    XING’s Plan to Take Revenge
     71.   XING also told Victim 7 that she had 10 million yuan,

(approximately $1.4 million USD) in China, and if she goes to




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jail she will use that money to seek revenge against anybody who

wronged her.

       72.   Victim 1 independently told law enforcement that XING

bragged to victims that she has 10 million yuan in two

properties in China.

       73.   XING told another victim, if XING is convicted to a

sixty-year term, she would not forget those that did not help

her.

                             V. CONCLUSION
       74.   For all the reasons described above, there is probable

cause to believe that XING has committed a violation of Title

18, United States Code, Section 1591(a) (Sex Trafficking by

Force, Fraud or Coercion).




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
                   17th day of
telephone on this ____
April, 2020




UNITED STATES MAGISTRATE JUDGE
HON. JEAN ROSENBLUTH




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